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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *
v. * CRIMINAL NO. JKB-22-0146
RON K. ELFENBEIN, *
Defendant. - *
x te * * x * * * *
SCHEDULING ORDER .

 

Pursuant to a scheduling conference held on June 28, 2022,! the Court now sets the

following dates and deadlines for further proceedings in this case:

January 9, 2023 Jencks disclosure
January 9, 2023 Deadline for filing motions in limine.
January 9, 2023 Deadline for receipt in chambers of proposed voir dire,

proposed preliminary jury instructions (start of trial),
proposed final jury instructions (end of trial), and a
proposed jury verdict form; these are to be filed
electronically and must also be submitted via e-mail
in Microsoft Word format to chambers:

MDD _JKBChambers@mdd.uscourts.gov.

Government and defense counsel shall meet and confer
with respect to proposed voir dire, jury instructions,
and a verdict form, and to the fullest extent possible
make joint submissions. Counsel shall identify any
matters of disagreement through supplemental filings.
The most recent revision of the undersigned’s standard
jury instructions in criminal cases is available to the
parties upon request to chambers.

January 12, 2023 Deadline for responses to motions in limine.

January 19, 2023, 1:30 p.m. Pretrial Conference, Courtroom 5A. Defendant and

 

! During this conference, the parties advised that a Motions Hearing would be unnecessary in this case and,
accordingly, the Court omits those dates from the Scheduling Order, _
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all trial counsel must be present.

January 30, 2023, 9:30 a.m. Begin Jury Trial, Courtroom 5A. Scheduled to
conclude on February 13, 2023. The Court will not sit
on Fridays.

Counsel shall appear in court at 9:15 a.m. on the first
day of trial to address miscellaneous matters with the
courtroom deputy clerk prior to the commencement of
jury selection.

The Government is directed to prepare notices and “come up” letters as appropriate for the
in-court proceedings. The Government is also directed to file any necessary motions to exclude
time pursuant to the Speedy Trial Act. No changes in the schedule set forth above will be permitted
unless authorized by the Court for good cause shown. Any such requests, either stipulated or ex

parte, must be made by motion and filed with the Clerk.

DATED this 22 day of June, 2022.

BY THE COURT:

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James K. Bredar
Chief Judge

 
